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14
                   FOR THE CENTRAL DISTRICT OF CALIFORNIA
15                        (Western Division – Los Angeles)
16
        AL OTRO LADO, INC., a California        Case No. CV 2:17-CV-05111-JFW-
17      corporation; ABIGAIL DOE;               JPR
        BEATRICE DOE; CAROLINA
18
        DOE; DINORA DOE; INGRID                 DEFENDANTS’ NOTICE OF
19      DOE; and JOSE DOE, individually         MOTION AND MOTION TO
        and on behalf of all others similarly   DISMISS UNDER FEDERAL
20
        situated;                               RULES OF CIVIL PROCEDURE
21                                              12(b)(1) AND 12(b)(6)
              Plaintiffs,
22
                                                HON. JOHN F. WALTER
23                          v.
24
        ELAINE C. DUKE, Acting
25      Secretary, U.S. Department of
        Homeland Security, in her official
26
27
28
     Case 3:17-cv-02366-BAS-KSC          Document 58   Filed 10/12/17   PageID.261   Page 2
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1          capacity; 1 KEVIN K.
           MCALEENAN, Acting
2          Commissioner, U.S. Customs and
           Border Patrol, in his official capacity;
3
           TODD C. OWEN, Executive
4          Assistant Commissioner, U.S.
           Customs and Border Patrol, in his
5          official capacity; and DOES 1–10,
           inclusive;
6
                 Defendants.
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22     1
        Pursuant to Federal Rule of Civil Procedure 25(d), Elaine C. Duke, Acting
23     Secretary, U.S. Department of Homeland Security, is automatically substituted
       for former Secretary John F. Kelly.
24                                            ii
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1                                  NOTICE OF MOTION

2          PLEASE TAKE NOTICE that on Monday, November 13, 2017, at 1:30 PM,
3      or as soon thereafter as the matter may be heard before the Honorable John F.
4      Walter, at the United States Courthouse, 350 W. 1st Street, Los Angeles,
5      California 90012, Courtroom 7A, Defendants will and hereby do move the Court
6      for an order dismissing this case. This motion is based on the memorandum of
7      points and authorities and such other evidence and argument that may be
8      presented before or at the hearing of this motion. During the meet-and-confer
9      with Plaintiffs’ counsel that began on Tuesday, October 3, 2017, Plaintiffs
10     indicated that they oppose this motion.
11

12     Dated: Thursday, October 12, 2017
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1                                               Respectfully submitted,

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                                                By: /s/ Genevieve M. Kelly
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12                      UNITED STATES DISTRICT COURT
                   FOR THE CENTRAL DISTRICT OF CALIFORNIA
13                        (Western Division – Los Angeles)

14      AL OTRO LADO, INC., a California            Case No. CV 2:17-CV-05111-JFW-
        corporation; ABIGAIL DOE;                   JPR
15
        BEATRICE DOE; CAROLINA
16      DOE; DINORA DOE; INGRID                     MEMORANDUM OF POINTS
        DOE; and JOSE DOE, individually             AND AUTHORITIES IN
17      and on behalf of all others similarly       SUPPORT OF DEFENDANTS’
        situated;                                   MOTION TO DISMISS UNDER
18                                                  FEDERAL RULES OF CIVIL
              Plaintiffs,                           PROCEDURE 12(b)(1) AND
19
                                                    12(b)(6)
20                          v.
                                                    HON. JOHN F. WALTER
21      ELAINE C. DUKE, Acting
        Secretary, U.S. Department of
22      Homeland Security, in her official
        capacity; KEVIN K. MCALEENAN,
23
        Acting Commissioner, U.S. Customs
24                                              v
     Case 3:17-cv-02366-BAS-KSC    Document 58       Filed 10/12/17   PageID.265   Page 6
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1       and Border Patrol, in his official
        capacity; TODD C. OWEN,
2       Executive Assistant Commissioner,
        U.S. Customs and Border Patrol, in
3
        his official capacity; and DOES 1–10,
4       inclusive;

5             Defendants.

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1       DEFENDANTS’ MEMORANDUM IN SUPPORT OF MOTION TO
      DISMISS UNDER FEDERAL RULES OF CIVIL PROCEDURE 12(b)(1)
2                          AND 12(b)(6)
3         The Court should dismiss this Complaint in its entirety because it fails to
4    state a live case or controversy and fails to state a claim upon which relief may be
5    granted. The individual Doe Plaintiffs’ claim—that they were denied access to
6    the asylum process in the United States—should be dismissed because it became
7    moot within several days of Plaintiffs’ commencing this action, when the
8    individual claimants returned to a port of entry, were processed as applicants for
9    admission, consistent with 8 U.S.C. §§ 1225(a)(1), (3), and were either referred
10   to U.S. Citizenship and Immigration Services (“USCIS”) for a credible fear
11   determination or were issued a Notice to Appear before an immigration judge.
12   Plaintiffs’ remaining claims—(1) that U.S. Customs and Border Protection
13   (“CBP”) has adopted an “officially sanctioned policy” of denying asylum seekers
14   access to the asylum process; (2) that CBP believes that the conduct alleged in
15   the Complaint is lawful; and (3) that CBP will continue to deny asylum seekers
16   the opportunity to access the asylum process—either fail to state a claim for relief
17   under Federal Rule of Civil Procedure 12(b)(6) or fail to state a live case or
18   controversy. If any allegations similar to these were to arise in the future, affected
19   individuals could bring suit for individual mandamus relief—the proper cause of
20   action in such circumstances.
21                       FACTS RELEVANT TO THIS MOTION
22        Plaintiffs filed this suit on Wednesday July 12, 2017, alleging that several
23   unknown CBP officers turned six Doe Plaintiffs away from three United States
24                                            1
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1    ports of entry, despite those individuals expressing their intent to apply for

2    asylum or a fear of persecution if returned to their home countries. Compl. at 18–

3    26. Plaintiffs allege that various CBP officers turned them away from a port of

4    entry, used intimidation to misinform them about their rights, and coerced them

5    into withdrawing their applications for admission. 2

6         In addition to describing the individual allegations of the Doe Plaintiffs, the

7    Complaint references several non-profit organizations’ reports describing

8    unnamed sources’ multiple allegations of misconduct by CBP officers in several

9    U.S. ports of entry. Compl. at 16, 17, 29–32. One such report called “Crossing

10   the Line,” by Human Rights First, alleges without reference to any individual

11   officers or claimants that while “recent data shows CBP agents referred some

12   8,000 asylum seekers” an “unknown number of asylum seekers have been

13   unlawfully rejected.” The report purports to be based on the claims of 125

14   individuals. Human Rights First, Crossing the Line: U.S. Border Agents Illegally

15   Reject Asylum Seekers, Human Rights First 1 (2017),

16   https://www.humanrightsfirst.org/sites/default/files/hrf-crossing-the-line-

17   report.pdf [hereinafter Crossing the Line] (cited in Compl. at 15–16, n.22; 17,

18   n.27; 29, n.29).

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     2
       Although Plaintiffs also allege that CBP officers locked Carolina Doe in a room
22
     overnight, dragged Dinora Doe by her arm, and roughly handled Beatrice Doe
23   when searching her for drugs, the Complaint does not lodge any cause of action
     in tort (and seeks no tort damages). See generally Compl.; see Compl. at 22, 28.
24                                            2
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1        The Complaint also alleges that “since 2016” CBP has had a “practice” and

2    “policy” of “denying asylum seekers access” to the asylum process at U.S. ports

3    of entry along the Southwest border. Compl. at 1, 17, 26. It alleges that such

4    unlawful acts “were performed (and continue to be performed) at the instigation,

5    under the control or authority of, or with the knowledge, consent, direction or

6    acquiescence of, the Defendants.” Compl. at 2. It alleges that CBP “has

7    acknowledged its illegal practice [of denying asylum seekers access to asylum

8    proceedings] in sworn testimony before Congress [in which] CBP’s [Office of

9    Field Operations] admitted that CBP officials were turning away asylum

10   applicants at POEs along the U.S.-Mexico border.” Compl. at 33 (citing Hearing

11   on the Immigration and Customs Enforcement and Customs and Border

12   Protection F.Y. 2018 Budgets Before the Subcomm. on Homeland Sec. of the H.

13   Appropriations Comm., 115th Cong. 207 et seq. (2017) (Government Printing

14   Office pagination forthcoming) [hereinafter Subcomm. Hearing] (statement of

15   John Wagner, Deputy Executive Assistant Comm’r for CBP’s Office of Field

16   Operations)). 3 The Complaint also alleges that CBP believes that all of the

17

18   3
       In the transcript of that June 13, 2017, Congressional testimony,
19   Congresswoman Roybal-Allard states: “The CBP southwest border
     apprehensions in the second quarter of this fiscal year were 56 percent lower than
20   the first quarter. However, the number of credible fear applications dropped by
     only 21 percent, and the percentage of positive credible fear determinations was
21   largely unchanged at 77 percent.” Id. (Government Printing Office pages
     forthcoming). The Congresswoman then asks CBP’s Deputy Executive Assistant
22
     Commissioner of Field Operations John Wagner about a “significant number of
23   reports of CBP officers at ports of entry turning away individuals attempting to
     claim credible fear [that were] documented in the press [and] by Human Rights
24                                            3
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1    misconduct alleged against its officers in the Complaint was lawful. Compl. at

2    45, 48, 50, 51.

3         Within one week that the complaint was filed, pursuant to an agreement with

4    Plaintiffs, Defendants and Plaintiffs’ counsel coordinated the arrival and

5    processing of Plaintiffs as applicants for admission to the United States. See Ex.

6    A. All of the Plaintiffs who chose to take advantage of this opportunity for

7    coordinated processing were processed as applicants for admission in either the

8    San Ysidro or Laredo ports of entry and, accordingly, were either given a notice

9    to appear before an immigration judge or referred to a USCIS asylum officer to

10   present their asylum or credible fear claims. Ex. A. Beatrice Doe, the one

11   plaintiff who did not take advantage of this coordinated arrangement, can return

12   to a port of entry to be processed as an applicant for admission at any time,

13   should she choose to do so. Ex. A at 1; see also 8 U.S.C. §§ 1225(b)(1), (b)(2);

14   8 C.F.R. § 235.3.

15

16

17   First based on firsthand interviews of CBP officers at ports of entry turning away
     individuals attempting to claim credible fear.” Id. Mr. Wagner responds that at
18
     one point in the past, as a result of a surge of migrants arriving at the border,
19   some ports of entry became full and could not “safely and securely hold any more
     people,” such that CBP cooperated with Mexico in determining how to manage
20   the flow of migrants crossing into a U.S. port of entry at one time, so that they
     could be processed as “safely and humanely” as possible. Id. Mr. Wagner also
21   describes contingency plans that were established so that, should another surge of
     migrants arrive at the border, CBP could “quickly set up temporary space to
22
     house people humanely and securely while they’re awaiting processing.” Id.
23   Nowhere does Mr. Wagner state that CBP denied any individual the ability to
     make a claim of fear or state that CBP would or could do so. Id.
24                                              4
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1

2                                       ARGUMENT

3    I.   The Doe Plaintiffs’ Claims Should Be Dismissed as Moot Because Each
          Doe Has Received All of the Relief That the Court Can Provide.
4
          The individual Doe Plaintiffs, on behalf of themselves and as putative class
5
     representatives, claim that they were denied access to the U.S. asylum process. 4
6
     But within several days of filing their Complaint, all of the individual Plaintiffs
7
     who still sought relief presented themselves at a U.S. port of entry and were
8
     processed as applicants for admission, consistent with 8 U.S.C. § 1225(a), and,
9
     accordingly, were either referred for credible fear interviews with asylum
10
     officers, or issued a notice to appear before an immigration judge. Ex. A.
11
     Therefore their requests for proper processing by CBP should be dismissed as
12
     moot.
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       The INA does not reference “access to the asylum process” but instead requires
     all applicants for admission be inspected for admissibility to the United States. 8
18
     U.S.C. § 1225(a)(1). Any alien who is not admissible is subject to removal from
19   the United States, either by an immigration judge after a removal proceeding (in
     which the alien may apply for any relief from removal, including asylum), see 8
20   U.S.C. § 1229a, or, in certain situations, through the expedited removal process,
     see 8 U.S.C. § 1225(b)(1). However, consistent with the United States’
21   international obligations and the law, if an inadmissible alien who is subject to
     expedited removal indicates a fear of return, CBP must refer that alien to USCIS
22
     for a credible fear hearing. 8 U.S.C. § 1225(b)(1)(A)(ii); 8 C.F.R. § 235.3(b)(4).
23   In either instance, the actual claims related to asylum are adjudicated by parties
     other than CBP after the initial application for admission process is complete.
24                                             5
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1            A. Mootness Standard

2         Article III, § 2, of the Constitution restricts the jurisdiction of federal courts

3    to “cases” and “controversies,” thus limiting the authority of federal courts to

4    resolving only “‘the legal rights of litigants in actual controversies.’” U.S. Const.

5    art. III, § 2; Valley Forge Christian College v. Americans United for Separation

6    of Church and State, Inc., 454 U.S. 464, 471 (1982) (quoting Liverpool, New

7    York & Philadelphia S.S. Co. v. Comm’rs of Emigration, 113 U.S. 33, 39 (1885)).

8    In order to invoke federal court jurisdiction, plaintiffs must demonstrate that they

9    possess a legally cognizable interest, or a “‘personal stake,’” in the outcome of

10   the action. Camreta v. Greene, 563 U.S. 692, 701 (2011) (quoting Summers v.

11   Earth Island Inst., 555 U.S. 488, 493 (2009)). “This requirement ensures that the

12   Federal Judiciary confines itself to its constitutionally limited role of adjudicating

13   actual and concrete disputes, the resolutions of which have direct consequences

14   on the parties involved.” Genesis Healthcare Corp. v. Symczyk, 569 U.S. 66, 71

15   (2013). “A corollary to this case-or-controversy requirement is that ‘an actual

16   controversy must be extant at all stages of review, not merely at the time the

17   complaint is filed.’” Id. at 71–72 (internal punctuation marks omitted) (quoting

18   Arizonans for Official English v. Arizona, 520 U.S. 43, 67 (1997)). “If an

19   intervening circumstance deprives the plaintiff of a personal stake in the outcome

20   of the lawsuit, at any point during litigation, the action can no longer proceed and

21   must be dismissed as moot.” Id. (internal quotation marks omitted).

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1            B. Each Doe Plaintiff has Received an Opportunity to Be Properly
                Processed as an Applicant for Admission.
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         All of the Doe Plaintiffs have received individual relief. Plaintiffs filed their
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     Complaint on Wednesday, July 12, 2017, Compl. at 53, alleging that Defendants
4
     had denied the Does access to asylum proceedings by failing to process them at
5
     ports of entry in accordance with the law. Compl. at 6–10. Within several days,
6
     pursuant to an agreement with Plaintiffs, Defendants and Plaintiffs’ counsel
7
     coordinated the arrival and processing of Plaintiffs as applicants for admission to
8
     the United States. See Ex. A. All of the Plaintiffs choosing to take advantage of
9
     this opportunity for coordinated processing came to the San Ysidro or Laredo
10
     ports of entry and were processed as applicants for admission. Id. Accordingly,
11
     they were either referred to a USCIS asylum officer to present their claims of fear
12
     or were issued a notice to appear before an immigration judge. 8 U.S.C.
13
     § 1225(b)(1)(A)(ii); 8 C.F.R. § 235.3(b)(4). Beatrice Doe, the one plaintiff who
14
     did not take advantage of this coordinated arrangement, can return to a port of
15
     entry to be processed as an applicant for admission if and when she chooses to do
16
     so. 8 U.S.C. §§ 1225(b)(1)(A)(ii), (b)(2); 8 C.F.R. § 235.3.
17
         This renders the Doe Plaintiffs’ claims moot. Plaintiffs alleged that they had
18
     sought access to the asylum process but were denied that opportunity when they
19
     were not properly processed as applicants for admission. See generally Compl. at
20
     6–10. All Plaintiffs subsequently received the opportunity to be properly
21
     processed. See Ex. A. Those who availed themselves of the opportunity were
22
     properly processed and were either referred for credible fear interviews or issued
23

24                                           7
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1    a notice to appear before an immigration judge. Thus, the Plaintiffs, including

2    Beatrice Doe have received all of the relief to which they are entitled and the

3    Court should dismiss all of the individual Plaintiffs from the case. See U.S.

4    Const. art. III, § 2; Kohler v. In-N-Out Burgers, No. 2013 WL 5315443, at *7

5    (C.D. Cal. Sept. 12, 2013) (citing Oliver v. Ralphs Grocery Co., 654 F.3d 903,

6    905 (9th Cir. 2011) (stating that in a case in which a plaintiff is only entitled to

7    injunctive relief, the plaintiff’s claims usually become moot when the defendant

8    remedies the violation)).

9            C. No Exceptions to the Mootness Doctrine Apply.

10        Further, no exceptions to the mootness doctrine apply in this case. Although

11   there is an exception to the mootness doctrine for injuries capable of repetition

12   yet evading review, that exception clearly does not apply in this case. “First, the

13   ‘capable of repetition’ prong of the exception requires a ‘reasonable expectation’

14   that the same party will confront the same controversy again. W. Coast Seafood

15   Processors Ass’n v. Nat. Res. Def. Council, Inc., 643 F.3d 701, 704 (9th Cir.

16   2011). There is no reason to anticipate that the Doe Plaintiffs—all of whom

17   received the opportunity to be processed as applicants for admission within one

18   week of filing this Complaint—will return to a port of entry as applicants for

19   admission in the future or that, upon doing so, they will be denied the opportunity

20   to be properly processed. Second, “[a] controversy evades review only if it is

21   ‘inherently limited in duration such that it is likely always to become moot before

22   federal court litigation is completed.’” Id. at 705. That is never the case where, as

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24                                             8
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 1   here, Plaintiffs complain that they have been denied a statutory right that does not

 2   expire. See id.

 3        The styling of the Complaint as a purported class action does not change this

 4   analysis. “If none of the named plaintiffs purporting to represent a class

 5   establishes the requisite of a case or controversy with the defendants, none may

 6   seek relief on behalf of himself or any other member of the class.” O’Shea v.

 7   Littleton, 414 U.S. 488, 494 (1974). Any limitations on this general rule outlined

 8   by the Ninth Circuit in Pitts v. Terrible Herbst, Inc., 653 F.3d 1081 (9th Cir.

 9   2011), do not apply here. This is not a case in which Defendants have “bought

10   off” individual claimants in order to dismiss the case before Plaintiffs have had

11   the opportunity to move for class certification. See id. at 1091. Plaintiffs have had

12   sufficient opportunity—over 90 days from the date they filed their Complaint—to

13   move for class certification and have still not done so. See generally Dkt. Nor is

14   it a case where Plaintiffs’ claims are so “inherently transitory” that a class

15   representative’s interest will automatically expire before the Court can rule on a

16   class certification motion. Pitts, 653 F.3d at 1090. These claims can only expire

17   once the plaintiff obtains relief. Accordingly, the Court should dismiss any

18   individual claims brought by the Doe Plaintiffs or by any purported class

19   members.

20 II.    Plaintiffs’ Remaining Claims Should Be Dismissed Under Rule 12(b)(6)
          for Failure to State a Claim Upon Which Relief May Be Granted and
21        Under Rule 12(b)(1) for Failure to Present a Live Case or Controversy.
22        Plaintiffs’ remaining claims—(1) that CBP has adopted an “officially
23   sanctioned policy” of denying asylum seekers access to the asylum process; (2)
24                                            9
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1    that CBP believes that the conduct of its officers, as alleged in the Complaint, is

2    lawful; and (3) that CBP will continue to deny asylum seekers the opportunity to

3    access the asylum process—either fail to allege sufficient specific facts to state a

4    claim for relief or are too speculative to constitute a live case or controversy

5    under Article III. The Court should accordingly dismiss those claims under

6    Federal Rules of Civil Procedure 12(b)(6) and 12(b)(1).

7            A. Plaintiffs Fail to Allege Sufficient Facts to State a Claim that CBP
                Has Adopted an “Officially Sanctioned Policy” of Denying Access
8               to the Asylum Process
9         Plaintiffs assert that CBP’s alleged actions “were performed (and continue to
10   be performed) at the instigation, under the control or authority of, or with the
11   knowledge, consent, direction or acquiescence of” Defendants, and, accordingly,
12   that Defendants have adopted “an officially sanctioned policy” of refusing entry
13   to asylum seekers in violation of the Immigration and Nationality Act (“INA”), 8
14   U.S.C. § 1101 et seq., and the Administrative Procedure Act (“APA”), 5 U.S.C.
15   § 500 et seq. Compl. at 2, 45–48. But Plaintiffs’ complaint fails to allege
16   sufficient facts from which the Court may reasonably infer that Defendants’
17   alleged actions constitute an “officially sanctioned policy.” Compl. at 2. In fact,
18   based on Plaintiffs’ allegations and the assertions contained in the Complaint’s
19   source material, the only reasonable inference to be drawn is that Defendants’
20   “officially sanctioned policy” is to comply with federal law. Accordingly, the
21   Court should dismiss Plaintiffs’ claim under Federal Rule of Civil Procedure
22   12(b)(6).
23

24                                           10
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1         To survive a motion to dismiss under Rule 12(b)(6), “a complaint must

2    contain sufficient factual matter, accepted as true, to ‘state a claim to relief that is

3    plausible on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell

4    Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)); see also Fed. R. Civ. P.

5    12(b)(6). A claim is facially plausible when the facts pled “allow[] the court to

6    draw the reasonable inference that the defendant is liable for the misconduct

7    alleged.” Iqbal, 556 U.S. at 678 (citing Twombly, 550 U.S. at 556). That is not to

8    say that the claim must be probable, but there must be “more than a sheer

9    possibility that a defendant has acted unlawfully.” Id. Facts “‘merely consistent

10   with’ a defendant’s liability” fall short of a plausible entitlement to relief. Id.

11   (quoting Twombly, 550 U.S. at 557). Here, Plaintiffs’ factual allegations fail to

12   meet this standard.

13        Plaintiffs generally allege “hundreds” of instances where CBP officers have

14   failed to process asylum seekers who arrive at ports of entry along the U.S.-

15   Mexico border as applicants for admission, broadly citing several newspaper

16   articles and “reports” by non-profit organizations that present only generalized

17   allegations. See Compl. at 16–18, n.25–28. But the assertions contained in the

18   Complaint and its source material 5 cut against those very allegations. For

19

20
     5
       “A court may . . . consider certain materials—documents attached to the
21   complaint, documents incorporated by reference in the complaint, or matters of
     judicial notice—without converting the motion to dismiss into a motion for
22
     summary judgment.” United States v. Ritchie, 342 F.3d 903, 908 (9th Cir. 2003).
23   “[A] district court ruling on a motion to dismiss may consider a document the
     authenticity of which is not contested, and upon which the plaintiff’s complaint
24                                           11
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1    example, Plaintiffs cite a 2017 Human Rights First article alleging that there at

2    least 125 documented occasions between December 2016 and March 2017 where

3    an applicant for admission intending to apply for asylum was denied the

4    opportunity to present his or her claim of fear at a port of entry. Compl. at 17, 38,

5    n.27. However, the report also acknowledges that “CBP agents referred some

6    8,000 asylum seekers at ports of entry” to USCIS for credible fear interviews

7    during the same period. Crossing the Line at 1. This ratio—125 alleged denials

8    out of 8,000 appropriate referrals to USCIS, or an alleged 1.6% denial rate, by

9    24,000 CBP officers across 328 ports of entry, Compl. at 10—does not, as

10   Plaintiffs imply, support a claim that CBP is engaging in an officially sanctioned

11   policy of denying applicants for admission access to the asylum process. 6 See

12   Perez v. United States, 103 F. Supp. 3d 1180, 1204 (S.D. Cal. 2015) (holding that

13

14

15
     necessarily relies.” Parrino v. FHP, Inc., 146 F.3d 699, 706 (9th Cir. 1998),
16   superseded by statute on other grounds as stated in Abrego Abrego v. The Dow
     Chem. Co., 443 F.3d 676, 681–82 (9th Cir. 2006). “[D]ocuments whose contents
17
     are alleged in a complaint and whose authenticity no party questions, but which
18   are not physically attached to the pleading, may be considered in ruling on a Rule
     12(b)(6) motion to dismiss.” Branch v. Tunnell, 14 F.3d 449, 454 (9th Cir. 1994),
19   overruled on other grounds by Galbraith v. County of Santa Clara, 307 F.3d
     1119 (9th Cir. 2002).
20
     6
      The report assumes that other denials of entry or instances of improper
21   processing, in addition to the 125 alleged, also took place in that same period.
     But without any more specific facts, this can only be characterized as the type of
22
     “[t]hreadbare recitals of the elements of a cause of action, supported by [a] mere
23   conclusory statement[]” that is insufficient to state a claim under Rule 12(b)(6).
     Iqbal, 553 U.S. at 678.
24                                           12
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1    plaintiffs failed to allege sufficient facts to state a claim that CBP had a “policy”

2    where Defendants acted in concert with the alleged policy only 10% of the time).

3         This is not the only time that Plaintiffs’ source material contradicts their

4    allegation that an “officially sanctioned policy” of denying asylum seekers access

5    to the asylum process exists. The Human Rights First article cited by Plaintiffs

6    states:

7               CBP officials have confirmed that the United States
                continues to recognize its obligation to process asylum
8               seekers. In March 2017, a CBP spokesperson told
                reporters, “CBP has not changed any policies affecting
9
                asylum procedures. These procedures are based on
10              international law and are focused on protecting some of
                the world’s most vulnerable and persecuted people.”
11
     Crossing the Line at 4. In addition, the Washington Post article cited by Plaintiffs
12
     states:
13
                A spokesman for U.S. Customs and Border Protection,
14              Michael Friel, said that there has been ‘no policy change’
                affecting asylum procedures, which are based on
15              international law aimed at protecting some of the world’s
                most vulnerable and persecuted people. And ‘we don’t
16
                tolerate any kind of abuse’ by U.S. border officials, he
17              said.

18   Joshua Partlow, “U.S. border officials are illegally turning away asylum seekers,

19   critics say,” Washington Post, Jan. 16, 2017,

20   https://www.washingtonpost.com/world/ the_americas/us-border-officials-are-

21   illegally-turning-away-asylum-seekers-critics-say/2017/01/16/f7f5c54a-c6d0-

22   11e6-acda-59924caa2450_story.html?utm_ term=.b345e63639bb [hereinafter

23   Partlow Article] (cited in Compl. at 17, n.28).

24                                            13
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1          The Complaint also cites a congressional hearing for the proposition that

2    CBP “has acknowledged its illegal practice [of denying asylum seekers access to

3    asylum proceedings] in sworn testimony before Congress [in which] CBP’s

4    [Office of Field Operations] admitted that CBP officials were turning away

5    asylum applicants at POEs along the U.S.-Mexico border.” Compl. at 33 (citing

6    Subcomm. Hearing (statement of John Wagner). This statement is extremely

7    misleading. In the portion of the transcript to which Plaintiffs allude,

8    Congresswoman Roybal-Allard asks CBP’s Deputy Executive Assistant

9    Commissioner of Field Operations John Wagner about a “significant number of

10   reports of CBP officers at ports of entry turning away individuals attempting to

11   claim credible fear [that were] documented in the press [and] by Human Rights

12   First based on firsthand interviews of CBP officers at ports of entry turning away

13   individuals attempting to claim credible fear.” Id. Mr. Wagner responds that at

14   one point in the past, as a result of a surge of migrants arriving at the border,

15   some ports of entry became full and could not “safely and securely hold any more

16   people,” such that CBP had to work with Mexico on methods to limit the number

17   of migrants entering U.S. port of entry at any given time, so that individuals

18   could be processed as “safely and humanely” as possible. Id. Mr. Wagner also

19   describes contingency plans that were established to enable CBP—should

20   another surge of migrants arrive at the border—to “quickly set up temporary

21   space to house people humanely and securely while they’re awaiting

22   processing. . . .” Id. Far from supporting Plaintiffs’ contentions that Mr. Wagner

23   “acknowledged [CBP’s] illegal practice . . . [of] turning away asylum

24                                            14
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1    applicants,” Mr. Wagner’s testimony actually demonstrates CBP’s determination

2    to safely process all individuals arriving at a port of entry, including those

3    claiming fear or intending to apply for asylum. 7

4         Plaintiffs next allege that CBP officials engaged in an “officially sanctioned

5    policy” of denying asylum seekers access to the asylum process “at the

6    instigation [of], under the control or authority of, or with the knowledge, consent,

7    direction or acquiescence of” the named Defendants. Compl. at 2. But here too,

8    Plaintiffs fail to allege sufficient specific facts to permit a reasonable inference

9    that Defendants DHS, CBP, or CBP’s Office of Field Operations created, knew

10   of, or participated in such a policy.

11        Plaintiffs acknowledge that the Acting Secretary of Homeland Security

12   “oversees all component agencies within DHS;” that Defendant Kevin K.

13   McAleenan, the Acting Commissioner of CBP, “oversees a staff of more than

14   60,000 employees;” and that Defendant Todd C. Owen, the Executive Assistant

15   Commissioner of CBP’s Office of Field Operations, “exercises authority over 20

16

17   7
       The Congresswoman also states in the transcript that, “The CBP southwest
     border apprehensions in the second quarter of this fiscal year were 56 percent
18
     lower than the first quarter. However, the number of credible fear applications
19   dropped by only 21 percent, and the percentage of positive credible fear
     determinations was largely unchanged at 77 percent.” Id. While these statistics
20   might partially be explained by the country conditions described by Plaintiffs in
     Central America’s Northern Triangle, see Compl. at 11-16, the statistics also may
21   demonstrate that, proportional to the number of individuals attempting to enter
     the United States without inspection, CBP made significantly more credible fear
22
     referrals in the second quarter of 2017 than in the first. Such statistics hardly help
23   Plaintiffs state a claim that CBP has a policy of denying asylum seekers access to
     credible fear interviews.
24                                           15
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1    major field offices and 328 POEs” and “manages a staff of more than 29,000

2    employees, including more than 24,000 CBP officials and specialists.” Compl. at

3    10. Plaintiffs do not, however, allege any facts anywhere in the Complaint

4    showing that Defendants either created or had notice of a policy or practice of

5    denying asylum seekers access to asylum proceedings. See generally Compl.

6    Without those specific factual allegations, it defies common sense to infer that

7    Defendants adopted or acquiesced to a policy or practice of prohibiting asylum

8    seekers from getting processed.

9         Plaintiffs’ allegations of an official policy are analogous to the plaintiffs’

10   allegations in Perez, 103 F. Supp. 3d at 1205. There, the plaintiffs alleged that

11   CBP maintained a so-called “Rocking Policy,” whereby Border Patrol agents on

12   the U.S.-Mexico border “deem[ed] the throwing of rocks at them by persons of

13   Hispanic descent and presumed Mexican nationality to be per se lethal force to

14   which the agents can legitimately respond with fatal gunfire.” Id. at 1191. The

15   plaintiffs also alleged that the Secretary of DHS knew of and condoned this

16   policy because she had “received an email each time deadly force was used by

17   the CBP,” had stated in a congressional hearing that “we examine each and every

18   case in which there is a death, to evaluate what happened,” and had “sign[ed] off

19   on the CBP Use of Force Policy Handbook.” Id. at 1204.

20        The Court dismissed the plaintiffs’ claims against the Acting Secretary and

21   the Commissioner under Rule 12(b)(6). It explained that “[a]t this level of the

22   supervisory chain of command, the Court cannot draw the ‘reasonable inference’

23   that Defendants . . . were aware of a pattern or practice of excessive force in

24                                            16
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1    response to rock throwing, absent factual allegations demonstrating [their]

2    specific notice of a such a pattern or practice.” Id. at 1205 (citing Iqbal, 556 U.S.

3    at 679 (“Determining whether a complaint states a plausible claim will . . . be a

4    context-specific task that requires the reviewing court to draw on its judicial

5    experience and common sense.”)). So too here, Plaintiffs have failed to allege

6    specific factual allegations showing that any CBP officers, to the extent that they

7    engaged in any misconduct, acted “at the instigation [of], under the control or

8    authority of, or with the knowledge, consent, direction or acquiescence of” any

9    other Defendants. Compl. at 2. If anything, where the plaintiffs in Perez at least

10   attempted to make factual allegations showing how the supervisory defendants

11   would have known about the alleged policy, Plaintiffs fail to allege such facts

12   here. Compare Perez, 103 F. Supp. 3d at 1204–05 with Compl. generally. In

13   other words, Plaintiffs have not pleaded sufficient facts to “nudge their [claim of

14   an unlawful policy] across the line from conceivable to plausible.” Twombly, 550

15   U.S. at 570.

16        In sum, Plaintiffs have wholly failed to allege sufficient facts that would

17   allow the Court to reasonably infer that any alleged misconduct by CBP officers

18   in this case were part of an “officially sanctioned policy,” rather than, at most,

19   several uncoordinated and unauthorized actions of a handful of individual

20   officers. Compl. at 2. They have not, for example, offered facts which showing

21   that CBP officers were acting pursuant to orders from their superiors. They have

22   not alleged facts showing that CBP officers colluded with one another to deny

23   applicants for admission access to the asylum process. They have not alleged

24                                           17
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1    facts showing that a majority, or even a large minority, of applicants for

2    admission at the U.S.-Mexico border were processed in any way other than

3    consistent with the law. Instead, they simply state that, “[b]y refusing to follow

4    the law, Defendants are engaged in an officially sanctioned policy.” Compl. at 2.

5    This is the type of “threadbare recital” of a claim, “supported by mere conclusory

6    statements,” that is insufficient to show that Defendants have adopted an

7    “officially sanctioned policy” of turning away asylum seekers at the border.

8    Iqbal, 556 U.S. at 678. The Federal Rules “do[] not require ‘detailed factual

9    allegations,’ but [they] demand[] more than an unadorned, the-defendant-

10   unlawfully-harmed-me accusation.” Id. (citing Twombly, 550 U.S. at 555). The

11   Court should dismiss their claim under Rule 12(b)(6).

12           B. Plaintiffs Fail to Allege Sufficient Facts to State a Claim that CBP
                Believes that the Conduct of Its Officers, as Alleged in the
13              Complaint, is Lawful
14        Plaintiffs allege that “Defendants contend that the conduct and practices [as
15   alleged in the Complaint] are lawful.” Compl. at 45, 48, 50, 51. That assertion is
16   not accurate. CBP acknowledges that the law requires inspection of all applicants
17   for admission. 8 U.S.C. §§ 1225(a)(1) (“An alien . . . who arrives in the United
18   States shall be deemed for purposes of this chapter an applicant for admission.”),
19   (3) (“All aliens . . . who are applicants for admission or otherwise seeking
20   admission or readmission to or transit through the United States shall be
21   inspected by immigration officers.”); see, e.g., Partlow Article. CBP is aware that
22   the law requires officers who encounter an applicant for admission at a port of
23   entry who is subject to removal and who expresses fear of persecution to refer
24                                           18
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1    that individual for a credible fear interview with an asylum officer. See 8 U.S.C.

2    § 1225(b)(1)(A)(ii) (“If an immigration officer determines that an alien . . . who

3    is arriving in the United States . . . is inadmissible [for either fraud or lack of

4    proper documents] . . . and the alien indicates either an intention to apply for

5    asylum under section 1158 of this title or a fear of persecution, the officer shall

6    refer the alien for an interview by an asylum officer. . .”); 8 C.F.R. § 235.3(b)(4)

7    (“[T]he inspecting officer shall not proceed further with removal of the alien until

8    the alien has been referred for an interview by an asylum officer . . . .”); see also,

9    e.g., Subcomm. Hearing. And CBP acknowledges that the law requires an alien’s

10   decision to withdraw his or her application for admission to be voluntary.

11   8 C.F.R. § 235.4 (“The alien’s decision to withdraw his or her application for

12   admission must be made voluntarily . . .”).

13        The Complaint fails to allege the existence of any facts—policy memos,

14   guidance, or any other facts—to support its assertion that CBP has adopted

15   policies or practices contrary to the requirements of the law. See generally

16   Compl. Without factual allegations that would allow the Court to reasonably infer

17   that such claims are plausible, the claim must be dismissed under Rule 12(b)(6).

18   Iqbal, 556 U.S. at 678 (“Threadbare recitals of the elements of a cause of action,

19   supported by mere conclusory statements, do not suffice.” (citing Twombly, 550

20   U.S. at 555)). Moreover, because CBP agrees with all of the statements of law

21   provided in page 46 of the Complaint, this claim does not involve a legal case or

22   controversy. See Already, LLC v. Nike, Inc., 568 U.S. 85, 90 (2013) (“In our

23   system of government, courts have ‘no business’ deciding legal disputes or

24                                             19
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1    expounding on law in the absence of such a case or controversy.”). Therefore, the

2    claim should also be dismissed under Rule 12(b)(1).

3            C. Plaintiffs’ Assertion that CBP “Will Continue” to Deny Asylum
                Seekers Access to the Asylum Process Does Not State a Live
4               Claim or Controversy.
5        Plaintiffs allege that Defendants’ practices “will continue to result in
6    irreparable injury,” Compl. at 44, 47, 50, and that Defendants will “continue to
7    act in excess of the authority granted them by Congress,” Compl. at 47. In
8    support, they allege that CBP has adopted an unlawful, “officially sanctioned
9    policy” of denying asylum seekers access to asylum proceedings, see Compl. at
10   2; that CBP believes the alleged misconduct of its officers to be lawful, Compl. at
11   45, 48, 50, 51, and that CBP has developed a “practice” of denying asylum
12   seekers access to asylum proceedings, Compl. at 1, 2, 12, 16, 26, 27.
13       As discussed above, the claim that CBP has adopted an unlawful policy of
14   denying asylum seekers access to asylum proceedings must be dismissed for
15   failure to state a claim under Rule 12(b)(6). See supra § II.A. As also discussed
16   above, the claim that CBP believes its officers’ conduct, as alleged in the
17   Complaint, is lawful must be dismissed both for failure to state a claim under
18   Rule 12(b)(6) and for failure to present a live case or controversy under Rule
19   12(b)(1). See supra § II.B.
20       The only remaining claim—that CBP “will continue” denying asylum
21   seekers access to the asylum process in the future because it has developed a
22   practice of doing so—is too speculative to create a live case or controversy under
23   Article III. See Rizzo v. Goode, 423 U.S. 362, 375 (1976) (stating that an
24                                          20
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1    “unadorned finding of a statistical pattern,” absent a theory about what official

2    policy or which supervisor deliberately caused it, cannot support a claim that

3    police officers’ widespread misconduct constituted a live case or controversy).

4         The Supreme Court has repeatedly rejected the proposition that a claim of

5    widespread officer misconduct—even conduct that is very likely to lead to

6    additional future injuries—sufficiently establishes a present case or controversy.

7    In Rizzo v. Goode, the plaintiffs established at trial the existence of an “assertedly

8    pervasive pattern of illegal and unconstitutional mistreatment by police officers”

9    that was likely to continue into the future. 423 U.S. at 366, 370. But the Supreme

10   Court explained that even where “‘there is a real and immediate threat of

11   repeated injury,’ the attempt to anticipate under what circumstances the

12   [respondents] would be made to appear in the future before petitioners ‘takes us

13   into the area of speculation and conjecture.’” Id. at 373 (quoting O’Shea, 414

14   U.S. at 495–96). The Court explained that a claim of injury cannot rest upon

15   “what one or a small, unnamed minority of policemen might do to them in the

16   future because of that unknown policeman’s perception” of departmental

17   procedures. Id. at 372.

18        The Supreme Court reached the same conclusion in City of Los Angeles v.

19   Lyons, 461 U.S. 95 (1983), a case in which the lead plaintiff had been injured by

20   an LAPD officer putting him into a choke hold. The lawsuit alleged that LAPD

21   police officers routinely applied such dangerous choke holds at the instruction of

22   the city regardless of whether they were threatened with deadly force. Id. at 98.

23   The Supreme Court determined that although Lyons had stated a claim for

24                                            21
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1    damages based on the harm he had already suffered, he had no standing to seek

2    an injunction against the police department’s choke hold practice. Id. at 109.

3    “Lyons’ lack of standing,” the Supreme Court explained, rests “on the

4    speculative nature of his claim that he will again experience injury as the result of

5    that practice even if continued.” Id. The Court also noted that individual lawsuits

6    seeking redress for their actual harm suffered gave plaintiffs an adequate remedy,

7    as did the various administrative avenues available to challenge the police

8    department’s practices. Id. The allegation that the LAPD’s widespread choke

9    hold practice would continue to cause more injuries, without any evidence of an

10   official policy or instruction, did not belong in federal court. Id. at 113.

11        Like the plaintiffs in Lyons and Rizzo, Plaintiffs’ claim here that future

12   injuries are likely to result from CBP’s alleged practices fails to present a live

13   case or controversy. In Lyons, the Supreme Court stated that:

14               In order to establish an actual controversy in this case,
                 Lyons would have had not only to allege that he would
15               have another encounter with the police but also to make
                 the incredible assertion either, (1) that all police officers
16
                 in Los Angeles always choke any citizen with whom they
17               happen to have an encounter, whether for the purpose of
                 arrest, issuing a citation or for questioning or, (2) that the
18               City ordered or authorized police officers to act in such
                 manner.
19
     Lyons, 461 U.S. at 105–06 (emphasis in original). Here, Plaintiffs make neither
20
     such assertion. Plaintiffs have not alleged that all CBP officers at the ports of
21
     entry always deny asylum seekers access to the asylum process. Compare Lyons,
22
     461 U.S. at 105–06 with Compl. generally. Far from that, Plaintiffs have cited a
23

24                                            22
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1    report acknowledging only 125 alleged incidents of asylum seekers being denied

2    access to the asylum process during the same period that 8,000 asylum seekers

3    were correctly processed by the 24,000 CBP employees working at the ports of

4    entry. Crossing the Line at 1.

5         Nor does the Complaint plead sufficient facts that could support a claim that

6    CBP ordered or authorized its officers to deny asylum seekers access to asylum

7    proceedings. Cf. Lyons, 461 U.S. at 105–06. Far from that, the Complaint

8    references a report stating that a CBP spokesperson had publicly stated that CBP

9    had not changed any procedures related to asylum seekers under the new

10   administration and that its procedures “are based on international law and are

11   focused on protecting some of the world’s most vulnerable and persecuted

12   people.” Partlow Article (“A spokesman for [CBP] said that there has been ‘no

13   policy change’ affecting asylum procedures, which are based on international law

14   aimed at protecting some of the world’s most vulnerable and persecuted people.

15   And ‘we don’t tolerate any kind of abuse’ by U.S. border officials, he said.”).

16        In sum, like the plaintiffs in Lyons and Rizzo, Plaintiffs’ claim here that a

17   widespread practice may lead to future unlawful activity on the part of some CBP

18   officers does not present a live case or controversy. Therefore it must be

19   dismissed for lack of jurisdiction under Rule 12(b)(1).

20                                       CONCLUSION

21        Because Plaintiffs’ individual and purported class claims are moot, and

22   because Plaintiffs’ other claims fail to state a claim and fail to present a live

23   claim or controversy, Plaintiffs are entitled to none of the relief they seek. They

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1    are not entitled to class certification or class counsel because the Doe Plaintiffs’

2    and purported class’s claims are moot. See Compl. at 52. They are not entitled to

3    a judgment declaring that Defendants’ policies, practices, acts, or omissions give

4    rise to federal jurisdiction or are unlawful, because they have not sufficiently

5    pleaded a claim of an unlawful policy and because they have not presented a live

6    claim of widespread misconduct. See Compl. at 52. They are not entitled to

7    injunctive relief requiring Defendants to comply with the law or prohibiting

8    Defendants from engaging in the unlawful policies or acts because they have

9    failed to present any live claims and because no controversy exists in this case

10   over what the law requires. 8 See Compl. at 52. And they are not entitled to

11   injunctive relief requiring Defendants to implement new oversight and

12   accountability procedures because they have failed to present a live claim or

13   controversy. 9

14        By dismissing this putative class action in its entirety, the Court will in no

15   way prevent future litigants with similar claims from obtaining relief. If any

16   similar allegations were to arise in the future, affected individuals could bring

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18

19   8
       Because Plaintiffs and CBP already agree that all applicants for admission must
     be properly processed in accordance with the law, a Court-issued injunction
20
     against Defendants to simply “comply with the law,” such as Plaintiffs seek is an
21   improper remedy. See Comp. at 52.
     9
22     Even if Plaintiffs had presented a live claim, Lyons would have precluded them
     from obtaining this type of injunctive relief, which too closely involves the Court
23   in CBP’s operational procedures. Lyons, 461 U.S. at 111.

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                                          of 36



1    claims for individual mandamus relief—the proper cause of action in such

2    circumstances. 10

3

4    Respectfully submitted,

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19

20

21   10
        Mandamus is available when (1) the plaintiff's claim is clear and certain; (2)
22   the defendant official's duty is ministerial and so plainly prescribed as to be free
     from doubt; and (3) no other adequate remedy is available. Johnson v. Reilly, 349
23   F.3d 1149 (9th Cir. 2003).

24                                           25
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1                            CERTIFICATE OF SERVICE

2    CASE NO. CV 2:17-cv-05111-JFW-JPR

3          I certify that on October 12, 2017, I served a copy of the foregoing JOINT
4
     STATEMENT by filing this document with the Clerk of Court through the
5
     CM/ECF system, which will provide electronic notice and an electronic link to
6
     this document to the following attorneys of record:
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